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 U.S. District Court
Eastern District of MO
                            F E R GU S 0 N
                             COLLABORATIVE


  December 10, 2018


  The Honorable Catherine D. Perry
  United States District Judge
  Clerk of Court
  United States District Court
  Thomas Eagleton United States Courthouse
  111 South 10th Street
  St. Louis, MO 63102




  Re: Additional Written Testimony for United States v. City of Ferguson, Case No. 4: 16 CV
  180 CDP


  Dear Judge Perry,


  Thank you again for providing an opportunity to submit written comments on behalf of the
  Ferguson Collaborative. Given the extension of the period for written comments, the members
  of the Ferguson Collaborative would like to submit additional testimony.


  [1] The Ferguson Collaborative is requesting that Judge Perry issues an order within 45
  days that continues and extends all possible opportunities to hear from the public
  through oral and written testimony at every status update.


  During status hearings where only parties speak, members of the public have heard updates
  that do not accurately or completely reflect the progress of the consent decree. This is
  detrimental to the faith in the consent decree for at least two reasons. First, the Judge solely
  relies on these updates and affirm the progress of the parties without knowing whether the
  update is actually being implemented in the way that the parties presented it. Second, by the
  time the community can respond to the inaccurate or incomplete portrayal of the progress,
  several months have passed, and the issue may no longer be ripe for community involvement or
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court intervention. Please permit the community to submit written and oral testimony at every
status update.


[2] The Ferguson Collaborative is requesting that the City of Ferguson and the
Department of Justice collect, compile, and publish two separate summaries of input on
the Ferguson Police Department policies: one from members of the community and one
from the police.


Community engagement and input only matters if the community can track and determine
whether the City of Ferguson is actually incorporating their ideas, thoughts, and feedback into
the Ferguson Police Department's policies and procedures. Thus, we request a clear and
published summary of community members' feedback, and a separate summary for input by
police officers. By merging comments and feedback from a blended group of civilians and
officers, the Ferguson Police Department risk only incorporating their own police officers'
comments into the final drafts of the policies. To avoid this risk, and in the spirit of full
transparency, we request that a member of the consent decree implementation team, a
community member, and the community liaison provide drafts of FPD's policies and procedures
to the community, separate and complete summaries of input, and final drafts displaying which
sections have been modified based on the feedback process. This process should happen
before FPD implements the policy. We hope that the Monitoring Team will send out the parties'
response to this request via email and on the monitor's website before Feb. 1, 2019.


[3] The Ferguson Collaborative is requesting immediate improvements to the unclear
process and policies related to the Civilian Review Board in the next 45 days.


The Civilian Review Board needs more training and more authority to have any serious chance
at holding police officers accountability in their treatment of Ferguson residents and other
members of our community.


The process for complaint submission is hard to locate online. The City of Ferguson's website
has information about some parts of the process, but does not have a complaint form. The
website and brochure are silent on whether the police have to tell members of the public to file a
complaint, especially if the civilian reported abuse or mistreatment to another officer.


For training: Most importantly, the Civilian Review Board should undertake trainings that teach
members about all rights that civilians have and are constitutionally protected. Civilian Review
Board members must also learn FPD policies regarding resident encounters to determine
whether officers violated any procedure. As FPD policies evolve during the community input
process, the City of Ferguson must share the latest and best versions of these policies to guide
the CRB's work.


For authority: The Civilian Review Board, as well as the public, must have access to any
disciplinary matrix that the police use to guide enforce their policies. If such matrix does not
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exist, then the Civilian Review Board should have the power to draft one to guide their work.
Additionally, the CRB should have the power to discipline officers, including suspension and
termination of current FPO officers, as well as to block the hiring of officers who have an
adverse discipline history in other police departments.



Your time and attention to these matters are greatly appreciated,



   1cia Pulliam an Emily Davis,
on behalf of the Ferguson Collaborative



Ferguson Collaborative
Ferguson, Missouri
www.fergusoncollaborative.org
